              IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                       WESTERN DIVISION

                             NO. 5:23-CV-572-D

UNITED STATES OF AMERICA,              )
                                       )
             Plaintiff,                )
                                       )
                 V.                    )         ORDER
                                       )
KORNEGAY REAL PROPERTY:                )
                                       )
LAND LOCATED AT 1702 SHERIFF           )
WATSON RD., SANFORD, NORTH             )
CAROLINA, AS MORE                      )
PARTICULARLY DESCRIBED IN A            )
DEED RECORDED IN BOOK 01451,           )
PAGE 0307 OF THE LEE COUNTY            )
REGISTRY, AND BEING TITLED IN          )
THE NAME OF TASHA L. HOLLAND-          )
KORNEGAY AND HUSBAND,                  )
WILLIAM 0. KORNEGAY, II AND            )
ANY AND ALL PROCEEDS FROM              )
THE SALE OF SAID PROPERTY,             )
                                      )
LAND LOCATED AT 5401 23RD Ave., S.    )
GULFPORT, FLORIDA, AS MORE            )
PARTICULARLY DESCRIBED IN A           )
DEED RECORDED IN BOOK 20822,          )
PAGES 1293-1295 OF THE PINELLAS       )
COUNTY RECORDS, AND BEING             )
TITLED IN THE NAME OF WILLIAM         )
OSCAR KORNEGAY, II AND TASHA          )
L. HOLLAND-KORNEGAY, HUSBAND          )
AND WIFE, AND ANY AND ALL             )
PROCEEDS FROM THE SALE OF             )
SAID PROPERTY,                        )
                                      )
              Defendant.              )


    For good cause shown on the United States' motion for a stay of the instant




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civil forfeiture proceedings pursuant to 18 U.S.C. § 981(g)(l) in light of an on-going

investigation, it is hereby ORDERED that this matter is STAYED for 120 days, up to

and including June 13, 2024.

      SO ORDERED. This the 1-1.day of March, 2024.




                                       United States District Judge




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